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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,
         Plaintiff,                         Case No. 2:18-cr-20030-AC-DRG
v.                                          Hon. Avern Cohn

D-1 JOSEPH DELFGAUW,
          Defendant.
_______________________________/

      ORDER ALLOWING DEFENDANT TO TRAVEL TO CANADA

      IT IS HEREBY ORDERED that the Petition to Amend Order Setting

Conditions of Release (Doc #7) is hereby granted and Defendant shall be allowed to

travel to Canada as a condition of release subject to notification requirements set

forth by Pretrial Services.


      SO ORDERED.

      s/Avern Cohn
      Avern Cohn
      United States District Judge

Dated: May 29, 2018

      I hereby certify that a copy of the foregoing document was served upon

counsel of record on May ___, 2018, by electronic and/or ordinary mail.


      _________________________________
